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 18                  IN THE UNITED STATES DISTRICT COURT
 19        FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 20 CARL ZEISS AG and ASML                        Case No. 2:17-cv-03221-RGK (MRWx)
    NETHERLANDS B.V.,
 21
                                                  PLAINTIFFS’ OBJECTIONS TO
 22                Plaintiffs,                    DEMONSTRATIVE EXHIBITS FOR
      v.                                          MS. JULIE DAVIS
 23
 24 NIKON CORPORATION and                         Trial Date: July 11, 2018
    NIKON INC.,                                   Tim: 9:00 a.m.
 25         Defendants.                           Courtroom: 850
 26                                               Judge: Hon. R. Gary Klausner
 27
 28
                          PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES EXHIBITS
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  1          Plaintiffs Carl Zeiss AG and ASML Netherlands B.V. (“Plaintiffs”) hereby offer
  2   written objections to three demonstrative exhibits that Defendants Nikon Corporation
  3   and Nikon, Inc. (“Nikon” or “Defendants”) intend to use with their damages expert and
  4   to the testimony Plaintiffs anticipate will accompany these demonstratives.
  5          Plaintiffs objections are as follows:
  6   DDX-4.8
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             Plaintiffs object to this demonstrative on several grounds. First, Plaintiffs object
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      to this demonstrative and the testimony that Plaintiffs expect will accompany it as expert
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      opinion that was not previously disclosed. During negotiations, counsel for Nikon has
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      contended that it plans to argue that Plaintiff’s alleged delay in bringing suit relates to the
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      value of the patents. Ms. Davis’s report, though, contains no such opinion, nor has such
 20
      an opinion ever been disclosed in this litigation up until Thursday evening. Indeed, the
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      slide contains no citations to anything from Ms. Davis’s report (and in fact shows no
 22
      citations for any of the contentions in the slide). An expert’s report is supposed to
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      provide “a complete statement of all opinions the witness will express and the basis and
 24
      reasons for them.” Fed. R. Civ. P. 26(a)(2)(B)(1). Allowing Nikon to present this new
 25
      expert opinion only disclosed for the first time in the middle of trial will be highly
 26
      prejudicial to Plaintiffs, and thus this demonstrative and testimony expressing this new
 27
      theory should be excluded. See Fed. R. Civ. P. 37(c)(1); see also Yeti by Molly, Ltd. v.
 28
                        PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES EXHIBITS
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  1   Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001) (“Rule 37(c)(1) gives teeth to
  2   [the requirements of Fed. R. Civ. P. 26(a)(2)(C)] by forbidding the use at trial of any
  3   information required to be disclosed by Rule 26(a) that is not properly disclosed.”)
  4          To the extent that Nikon argues that Ms. Davis’s report contains citations to
  5   documents showing the transfer of the ownership of the patent, that is not sufficient.
  6   Rules 26 requires more than just citation of documents, it requires “complete”
  7   disclosure of “all opinions the witness will express.” Fed. R. Civ. P. 26(a)(2). Plainly,
  8   citation to documents in various portions of a report does not make an opinion, and
  9   Nikon cannot be allowed to pick and choose from various data points appearing in
 10   different portions of Ms. Davis’s report and then construct out of whole cloth a new
 11   damages theory in the middle of trial. That a similar slide may have been shown in
 12   Nikon’s opening demonstratives for an entirely different purpose similarly does not
 13   justify using a similar slide to make a new argument constructed for the first time in the
 14   middle of trial.
 15          Second, Plaintiffs object to the use of the word “shell” to describe the corporate
 16   entity that purchased the patents-in-suit from HP. As this Court already recognized in
 17   granting Plaintiffs’ motion in limine No. 2, this language is inflammatory and likely to
 18   unfairly plaintiffs. (See D.I. 274, at 7 (Plaintiffs’ motion in limine number 2) at 7 (asking
 19   that the Court preclude “[a]llegations that, in words or in substance, Tarsium is a ‘secret’
 20   or ‘shell’ corporation …” (emphasis added)); D.I. 480, at 2 (“Plaintiffs’ Motion in
 21   Limine 2 [239] is granted.”)). Describing Tarsium as a “shell” company is also
 22   misleading and inaccurate. Nikon has indicated that it will remove the reference to
 23   Tarsium as a “shell” company on this slide, but Plaintiffs have not yet seen an updated
 24   version of the slide reflecting this change.
 25          Lastly, to the extent that Nikon withdraws this slide but then attempts to elicit
 26   testimony on this same subject, Nikon should be precluded from doing so for the same
 27   reasons that make the demonstrative exhibit objectionable.
 28
                         PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES EXHIBITS
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  1   DDX-4.35
  2          Plaintiffs additionally object to DDX-4.35, a slide entitled “Plaintiffs Wanted the
  3   HP Agreement to Be Secret.” As the Court has already recognized, “statements or
  4   suggestions that Tarsium was formed for any improper purpose, to keep acquisition
  5   secret, and/or that the acquisition negotiations were conducted under
  6   confidentiality agreements” have no place in this trial. (See D.I. 274, at 7 (emphasis
  7   added); see also D.I. 480, at 2 (“Plaintiffs’ Motion in Limine 2 [239] is granted.”))
  8          Nikon contends that this Court granted Plaintiffs’ motion in limine No. 2 subject
  9   to an exception for reasonable royalties. (See, e.g., D.I. 483, at 1.) Plaintiffs note,
 10   however, that the Court’s minute order from the beginning of trial made no such
 11   reservation, despite doing so for orders on other motions in limine. (See D.I. 480, at 2.)
 12   In any event, whether negotiations were conducted under a confidentiality agreement
 13   has no relevance to calculating an appropriate reasonable royalty, and allowing such
 14   testimony would be highly prejudicial and misleading because it is in fact common
 15   practice for parties to negotiate under confidentiality agreements and all of the parties to
 16   the negotiations knew of the identify of Plaintiff ASML and its connection to Tarsium,
 17   as pointed out in Plaintiffs’ original motion. (See D.I. 274, at 8–9 (referencing testimony
 18   of Mr. Pressman, attached as Ex. D to that motion).) Nikon has indicated it will not use
 19   this slide, but Plaintiffs have not yet seen an updated slide deck and, regardless of
 20   whether Nikon uses such a demonstrative, Plaintiffs object to any testimony that might
 21   be elicited to this effect.
 22   Other Demonstratives
 23          Lastly, Plaintiffs note that Nikon’s originally served demonstrative exhibits for
 24   Ms. Davis included additional inflammatory slides that squarely fall within the scope of
 25   Plaintiffs’ motion in limine number 2. In negotiations, Nikon indicated that it would
 26   withdraw the offending slides, but Plaintiffs have not yet received an updated set of
 27   demonstratives with these materials removed. To the extent that Nikon publishes slides
 28   that it previously indicated it would remove, Plaintiffs object to their inclusion.
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  1                              CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above and
  3   foregoing document has been served on July 15, 2018, to all counsel of record who are
  4   deemed to have consented to electronic service via the Court’s CM/ECF system per
  5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
  6   facsimile and/or overnight delivery.
  7
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